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                                UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                       www.flsb.uscourts.gov
                                           CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                           Original Plan
                                         2AP               Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                           Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

 DEBTOR:              Stanley E Parris                               JOINT DEBTOR:                                     CASE NO.:     18-21763
 SS#:         xxx-xx-9367                                            SS#:
I.           NOTICES
             To Debtors:               Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended
                                       plans and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk
                                       pursuant to Local Rules 2002-1(C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments
                                       within 30 days of filing the chapter 13 petition or within 30 days of entry of the order converting the case to
                                       chapter 13.
             To Creditors:             Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your
                                       claim may be reduced, modified or eliminated.
             To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must
                             check one box on each line listed below in this section to state whether the plan includes any of the
                             following:
 The valuation of a secured claim, set out in Section III, which may result in a                        Included                  Not included
 partial payment or no payment at all to the secured creditor
 Avoidance of a judicial lien or nonpossessory, nonpurchase-money security                              Included                   Not included
 interest, set out in Section III
 Nonstandard provisions, set out in Section VIII                                                        Included                   Not included
II.          PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE
             A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including
                trustee's fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full
                10%, any unused amount will be paid to unsecured nonpriority creditors pro-rata under the plan:
                    1. $     691.56          for months 1 to 8.
                    2. $     707.73          for months 9 to 60.
             B. DEBTOR(S)' ATTORNEY'S FEE:                                      NONE          PRO BONO
 Total Fees: $6,000.00               Total Paid: $2,000.00                                         Balance Due:    $4,000.00
 Payable $66.67                   /month (Months 1         to                         60      )
 Allowed fees under LR 2016_1(B)(2) are itemized below:
 3500 + 2500 MMM
 Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.    TREATMENT OF SECURED CLAIMS
        A. SECURED CLAIMS:                     NONE
[Retain Liens pursuant to 11 U.S.C. §1325(a)(5)] Mortgage(s)/Lien on Real or Personal Property:

 1       Creditor: CHALET SERIES III TRUST [POC 11]
         Address:Rushmore Loan         Arrearage/Payoff on Petition Date                         0.00
       Management Services LLC; P.O. MMM Adequate                                        555.52 Mos 1-60
       Box 55004; Irvine, CA 92619     Protection
 Last 4 Digits of Account No.: Account No: 1154
 Other:
    Real Property                                                                      Check one below for Real Property:
            Principal Residence                                                          Escrow is included in the regular payments
            Other Real Property                                                          The debtor(s) will pay    taxes    insurance directly
 Address of Collateral: 14470 SW 96 Ter Miami, FL 33186
 Miami-Dade

 Personal Property/\
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                                                                                                       Debtor(s): Stanley E Parris Case number: 18-21763
          Description of Collateral:



                 B. VALUATION OF COLLATERAL:       NONE
                    IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                    SECURING YOUR CLAIM IN THE AMOUNT INDICATED, A SEPARATE MOTION WILL ALSO BE SERVED
                    UPON YOU PURSUANT TO BR 7004 AND LR 3015-3.
                 C. LIEN AVOIDANCE                              NONE

                 D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not
                    receive a distribution from the Chapter 13 Trustee.
                             NONE
E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from
   the Chapter 13 Trustee.
                             NONE
    IV.          TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. §1322(a)(4)]
                 A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                             NONE

                 B. INTERNAL REVENUE SERVICE:                               NONE

                 C. DOMESTIC SUPPORT OBLIGATION(S):                                      NONE     CURRENT AND PAID OUTSIDE

                 D. OTHER:                    NONE

    V.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS
                 A. Pay     14.77                      /month (Months      9       to 60         ) Total $768.00
                    Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
                 B.   If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
                 C. SEPARATELY CLASSIFIED:                               NONE

    VI.          EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay
                 relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                           NONE
    VII.         INCOME TAX RETURNS AND REFUNDS:                                     NONE
     The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an annual basis
    during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the Trustee with their filed tax
    returns is on or before May 15 of each year the case is pending and that the debtor(s) shall provide the trustee (but not file with the
    Court) with verification of their disposable income if their gross household income increases by more than 3% over the previous
    year's income. [Miami cases]
    VIII.        NON-STANDARD PLAN PROVISIONS:                                   NONE
                      Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the
                     Local Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.


                      Mortgage Modification Mediation

                 1. The debtor has filed a Verified Motion for Referral to MMM with: CHALET SERIES III TRUST [POC 11] ("Lender") loan
                 number 1154 for real property located at 14470 SW 96 Ter Miami, FL 33186 Miami-Dade County

                 The parties shall timely comply with all requirements of the Order of Referral to MMM and all Administrative Orders/Local
                 Rules regarding MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortgage
                 modification/permanent payment is established by the parties, absent Court order to the contrary, the debtor has included a
                 postpetition monthly plan payment (a) with respect to the debtor’s homestead, of no less than the lower of the prepetition
                 monthly contractual mortgage payment or 31% of the debtor’s gross monthly income (after deducting any amount paid
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                                                                                       Debtor(s): Stanley E Parris Case number: 18-21763
             toward HOA fees due for the property) and (b) with respect to income producing property, of no less than 75% of the gross
             income generated by such property, as a good faith adequate protection payment to the lender. All payments shall be
             considered timely upon receipt by the trustee and not upon receipt by the lender.

             Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
             proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage
             arrearage stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to
             confirmation of the plan or modified plan.

             If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement as a result of the
             pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement
             with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later
             than 14 calendar days following settlement. Once the settlement is approved by the Court, the debtor shall immediately
             amend or modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as
             applicable.

             If a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
             days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect
             the settlement reached after confirmation of the plan. The parties will then timely comply with any and all requirements
             necessary to complete the settlement.

             In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
             disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.

             If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
             filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof of
             Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to value; or (b) provide that the
             real property will be “treated outside the plan.” If the property is “treated outside the plan,” the lender will be entitled to in
             rem stay relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file a
             motion to confirm that the automatic stay is not in effect as to the real property.

             Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof
             of Claim.

                   PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.
 /s/ Stanley E Parris                                 Debtor         April 22, 2019                             Joint Debtor
 Stanley E Parris                                                    Date                                                      Date
                                                      Debtor
 Attorney with permission to sign                                    Date
 on Debtor's behalf
By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.




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